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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




Sherina Turner,

                                  Plaintiff(s),
v.                                                    Case No. 1:19−cv−10303−TLL−PTM
                                                      Hon. Thomas L. Ludington
Saginaw Transit Authority
Regional Services,

                                  Defendant(s),



                                     NOTICE OF REMAND

TO: SAGINAW COUNTY CIRCUIT COURT



     Enclosed are certified copies of the Order of Remand and this Court's docket sheet.

  Please acknowledge receipt of these documents by returning a time−stamped copy of this
Notice to:

                    Clerk's Office
                    U.S. District Court for the Eastern District of Michigan
                    231 W. Lafayette Boulevard, 5th Floor
                    Detroit, Michigan 48226
                    (313) 234−5005



                                     Certificate of Service

   I hereby certify that on this date a copy of the foregoing notice was served upon the parties
and/or counsel of record herein by electronic means or first class U.S. mail.

                                                  DAVID J. WEAVER, CLERK OF COURT


                                              By: s/N Ahmed
                                                  Deputy Clerk

Dated: February 28, 2019
